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                         UNITED STATES DISTRICT COURT

                         MIDDLE DISTRICT OF LOUISIANA

AMANDA HOCH
                                                                CIVIL ACTION
VERSUS
                                                                NO. 17-809-JWD-SDJ
ALLSTATE INSURANCE COMPANY
                                        OPINION

       After independently reviewing the entire record in this case and for the reasons set

forth in the Magistrate Judge's Report (Doc. 40) September 28, 2020, to which no objection

was filed;

       IT IS ORDERED that Plaintiff’s claims against defendant Allstate Insurance

Company are DISMISSED WITHOUT PREJUDICE.

       Judgment shall be entered accordingly.

       Signed in Baton Rouge, Louisiana, on October 16, 2020.


                                                S
                                     JUDGE JOHN W. deGRAVELLES
                                     UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF LOUISIANA
